Case 4:17-cv-00454-GKF-JFJ   Document 165-2 Filed in USDC ND/OK on 10/12/18   Page 1
                                       of 29




                              ([KLELW$
Case 4:17-cv-00454-GKF-JFJ   Document 165-2 Filed in USDC ND/OK on 10/12/18   Page 2
                                       of 29
Case 4:17-cv-00454-GKF-JFJ   Document 165-2 Filed in USDC ND/OK on 10/12/18   Page 3
                                       of 29
Case 4:17-cv-00454-GKF-JFJ   Document 165-2 Filed in USDC ND/OK on 10/12/18   Page 4
                                       of 29
Case 4:17-cv-00454-GKF-JFJ   Document 165-2 Filed in USDC ND/OK on 10/12/18   Page 5
                                       of 29
Case 4:17-cv-00454-GKF-JFJ   Document 165-2 Filed in USDC ND/OK on 10/12/18   Page 6
                                       of 29
Case 4:17-cv-00454-GKF-JFJ   Document 165-2 Filed in USDC ND/OK on 10/12/18   Page 7
                                       of 29
Case 4:17-cv-00454-GKF-JFJ   Document 165-2 Filed in USDC ND/OK on 10/12/18   Page 8
                                       of 29
Case 4:17-cv-00454-GKF-JFJ   Document 165-2 Filed in USDC ND/OK on 10/12/18   Page 9
                                       of 29
Case 4:17-cv-00454-GKF-JFJ   Document 165-2 Filed in USDC ND/OK on 10/12/18   Page 10
                                       of 29
Case 4:17-cv-00454-GKF-JFJ   Document 165-2 Filed in USDC ND/OK on 10/12/18   Page 11
                                       of 29
Case 4:17-cv-00454-GKF-JFJ   Document 165-2 Filed in USDC ND/OK on 10/12/18   Page 12
                                       of 29
Case 4:17-cv-00454-GKF-JFJ   Document 165-2 Filed in USDC ND/OK on 10/12/18   Page 13
                                       of 29
Case 4:17-cv-00454-GKF-JFJ   Document 165-2 Filed in USDC ND/OK on 10/12/18   Page 14
                                       of 29
Case 4:17-cv-00454-GKF-JFJ   Document 165-2 Filed in USDC ND/OK on 10/12/18   Page 15
                                       of 29
Case 4:17-cv-00454-GKF-JFJ   Document 165-2 Filed in USDC ND/OK on 10/12/18   Page 16
                                       of 29
Case 4:17-cv-00454-GKF-JFJ   Document 165-2 Filed in USDC ND/OK on 10/12/18   Page 17
                                       of 29
Case 4:17-cv-00454-GKF-JFJ   Document 165-2 Filed in USDC ND/OK on 10/12/18   Page 18
                                       of 29
Case 4:17-cv-00454-GKF-JFJ   Document 165-2 Filed in USDC ND/OK on 10/12/18   Page 19
                                       of 29
Case 4:17-cv-00454-GKF-JFJ   Document 165-2 Filed in USDC ND/OK on 10/12/18   Page 20
                                       of 29
Case 4:17-cv-00454-GKF-JFJ   Document 165-2 Filed in USDC ND/OK on 10/12/18   Page 21
                                       of 29
Case 4:17-cv-00454-GKF-JFJ   Document 165-2 Filed in USDC ND/OK on 10/12/18   Page 22
                                       of 29
Case 4:17-cv-00454-GKF-JFJ   Document 165-2 Filed in USDC ND/OK on 10/12/18   Page 23
                                       of 29
Case 4:17-cv-00454-GKF-JFJ   Document 165-2 Filed in USDC ND/OK on 10/12/18   Page 24
                                       of 29
Case 4:17-cv-00454-GKF-JFJ   Document 165-2 Filed in USDC ND/OK on 10/12/18   Page 25
                                       of 29
Case 4:17-cv-00454-GKF-JFJ   Document 165-2 Filed in USDC ND/OK on 10/12/18   Page 26
                                       of 29
Case 4:17-cv-00454-GKF-JFJ   Document 165-2 Filed in USDC ND/OK on 10/12/18   Page 27
                                       of 29
Case 4:17-cv-00454-GKF-JFJ   Document 165-2 Filed in USDC ND/OK on 10/12/18   Page 28
                                       of 29
Case 4:17-cv-00454-GKF-JFJ   Document 165-2 Filed in USDC ND/OK on 10/12/18   Page 29
                                       of 29
